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                   EXHIBIT 5
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  From:            Sudhakar Vidiyala
  To:              Vasu Sabbella
  Subject:         FW: Ascent - pending quota applications
  Date:            Monday, September 25, 2023 9:39:08 AM
  Attachments:     image001.jpg




  Thank You,
  Sudhakar Vidiyala

  From: Strait, Matthew J. [mailto:Matthew.J.Strait@dea.gov]
  Sent: Monday, April 17, 2023 2:28 PM
  To: sudhakar@ascentpharm.com
  Cc: Harper-Avilla, Stacy <Stacy.Harper-Avilla@dea.gov>
  Subject: Ascent - pending quota applications

  Good afternoon Mr. Vidiyala,

  I am in receipt of your recent emails like the one below regarding Ascent’s pending quota
  applications.

  As part of its decision-making regarding Ascent’s request for a procurement quota(s), DEA has
  required additional information which may be helpful in detecting or preventing diversion. DEA is
  aware that Ascent has provided, as recently as January 2023, certain information as part of the
  ongoing investigation being conducted by the DEA New York Division Office. Rather than burden
  Ascent with a request for additional information pursuant to 21 CFR 1303.12(b) that would result in
  duplicative production by Ascent, DEA is reviewing the information that Ascent has already provided
  in the separate NY Division Office investigation to determine whether that information can address
  DEA’s needs relating to the quota determination.

  Should DEA determine that it needs further information pursuant to 1303.12(b), DEA will contact
  Ascent.

  Sincerely,
  Matthew Strait
  Deputy Assistant Administrator
  DEA Diversion Control Division

  From: Sudhakar Vidiyala <sudhakar@ascentpharm.com>
  Sent: Wednesday, April 12, 2023 9:39 AM
  To: Strait, Matthew J. <Matthew.J.Strait@dea.gov>; Harper-Avilla, Stacy <Stacy.Harper-
  Avilla@dea.gov>
  Subject: [EXTERNAL] Quota application
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  Dear Matthew,
  I am trying to reach you on clarification or solution from you the ongoing quota issue with Ascent
  since more than a year. I know my attorney is working with chief counsel office, but if there is any
  miscommunication or misunderstanding happening, need clarity from you. Since more than 200
  employees’ jobs are at risk, approached county executives for assistance. Suffolk county executives
  reached out DEA with concern of saving jobs and get speedy resolution. DEA informed that ascent
  need to submit response and DEA is waiting for ascent response. As per our records and
  communication with DEA, nothing is pending from Ascent. In fact, Ascent repeatedly requested DEA
  for any pending items that are open, but never came back and confirmed from chief counsel office
  that nothing is pending. We are surprised to hear from DEA, that they are waiting for Ascent
  response. We don’t know how to react on this. Ascent was built over 10 years’ period with excellent
  track record with both FDA and DEA, spent more than 200 million on facilities and in R&D. Company
  is 70% depended on CII products and DEA abruptly stop issuing quota without any signs of warning
  or any valid reason. Company is in shutdown situation and more 200 employees and their families
  are in jeopardy not knowing the future of their jobs.

  Because of delays following damages incurred:
         We lost 60-70 employees so far, because of lack of work
         Employees taking 40% less pay check, because of overtime, bonus and raises
         Lost all supply contracts with retails like CVS, Walgreen etc
         Ascent ran out of funds from different sources including overdraft protection
         Till now received 6 million of failure to supply from retails because of contractual obligation
         to supply the product
         All R&D activities are stand still because of no material available to conduct research
         FDA approvals are delayed because of pending responses to FDA due to lack of materials
         Financial crisis to Ascent due to loss of 70% revenues

  Further delays of quota will incur following:
          Will be losing 200+ employees
          New launches delays, reduces affordability to patients
          Additional potential failure supply penalties
          Financial pressure from banks and other financial institutions to fulfill obligations, leading to
          shut down the company

  Please note that Ascent is trying to cooperate with agency at every aspect. Ascent responded to
  agencies finding with supporting documents and we don’t see any product diversion issues. Any
  effort that Ascent made is to get the quota decision early, not to complicate any issue or not to
  question the agency rights. As proactive step as communicated to local DEA, we are implementing
  customized software to manage data readily available in desired format in much faster than paper
  along with body scanner to avoid any product theft, in addition to existing controls. We are happy to
  implement any recommendation made by agency to improve systems and procedures for better
  compliance

  I am happy to communicate directly with you to avoid any miscommunication or to avoid any
  misunderstanding. Its question of company survival, which was built over 10 years’ period. I
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  appreciate your intervention to give direction to move forward. Since we don’t see any product
  diversion issues, we request you to issue quota immediately to avoid shut down situation. I
  appreciate your prompt response


  Thank You,
  Sudhakar Vidiyala
  Sudhakar Vidiyala
  CEO & President

         Ascent Pharmaceuticals, Inc.
  400 S. Technology Dr
  Central Islip, NY 11722 USA
  Phone: (631) 851-0550 Ex. 1401
  Fax: (631) 761-8535
  E-Mail: sudhakar@ascentpharm.com




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